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                         Counsel for Plaintiffs
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                                            UNITED STATES DISTRICT COURT
                    15             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




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                       BROIDY CAPITAL MANAGEMENT                         Case No. 18-cv-02421-JFW
                    17 LLC and ELLIOTT BROIDY,
                                                                         NOTICE OF MOTION AND
                    18                    Plaintiffs,                    MOTION OF PLAINTIFFS FOR
                                                                         THE COURT TO SOLICIT THE
                    19                                                   POSITION OF THE UNITED
                                   v.                                    STATES DEPARTMENT OF
                    20                                                   STATE
                    21 STATE OF QATAR, STONINGTON                        The Honorable John F. Walter
                       STRATEGIES LLC, NICOLAS D.
                    22 MUZIN, GLOBAL RISK ADVISORS                       [Memorandum of Points and
                       LLC, KEVIN CHALKER, DAVID                         Authorities; and [Proposed] Order
                    23 MARK POWELL, MOHAMMED BIN                         filed concurrently herewith
                       HAMAD BIN KHALIFA AL THANI,
                    24 AHMED AL-RUMAIHI, and DOES 1-                     Hearing Date: August 27, 2018
                       10,                                               Time: 1:30 p.m.
                    25                                                   Ctrm.: 7A
                                 Defendants.
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                                                                                             Case No. 18-cv-02421-JFW
                                NOTICE OF MOTION AND MOTION OF PLAINTIFFS FOR THE COURT TO SOLICIT THE POSITION OF
                         TO t
                                                                           THE UNITED STATES DEPARTMENT OF STATE
                  Case 2:18-cv-02421-JFW-E Document 169 Filed 07/23/18 Page 2 of 3 Page ID #:2954




                     1          TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR
                     2 ATTORNEYS OF RECORD:
                     3          PLEASE TAKE NOTICE that on August 27, 2018, at 1:30 p.m., or as soon
                     4 thereafter as may be heard in Courtroom 7A in the United States District Court for the
                     5 Central District of California, located at 350 W. 1st Street, Los Angeles, California,
                     6 90012, Honorable John F. Walter presiding, Plaintiffs Broidy Capital Management
                     7 LLC and Elliott Broidy will appear and move the Court for an Order seeking the
L L P




                     8 position of the United States Department of State (the “State Department”) regarding
F L E X N E R




                     9 two distinct areas: (1) the foreign policy and national security questions raised by the
                   10 State of Qatar (“Qatar”) in its motion to dismiss (ECF No. 112 at 1, 4, 5); (2) the
                   11 claims of derivative sovereign immunity and diplomatic agent immunity that
S C H I L L E R




                   12 Defendants Nicolas D. Muzin and Stonington Strategies LLC (the “Stonington
                   13 Defendants”) have raised in their motion to dismiss, (ECF No. 129-1 at 4-7); and (3)
                   14 the claims of derivative sovereign immunity and “foreign official” immunity that
                   15 Defendants Global Risk Advisors LLC and Kevin Chalker (the “GRA Defendants”)
B O I E S




                   16 have indicated they intend to raise in their motion to dismiss (ECF No. 150 at 3).
                   17 Plaintiffs make this motion to provide the Court with the legal basis for and customary
                   18 procedures for obtaining information from the State Department with which to
                   19 evaluate Defendants’ positions. To the extent the Court has any uncertainty regarding
                   20 whether those issues impact its decision on the motions to dismiss in this case, the
                   21 position of the State Department is likely to inform and influence this Court’s
                   22 analysis.
                   23           This Motion is based this Notice, the attached Memorandum of Points and
                   24 Authorities, all papers and pleadings on file in this action, and on such other oral and
                   25 documentary evidence as the Court may receive at or before the hearing on this
                   26 Motion.
                   27           PLEASE TAKE FURTHER NOTICE that this Motion is made following the
                   28
                                                                 -1-                       Case No. 18-cv-02421-JFW
                              NOTICE OF MOTION AND MOTION OF PLAINTIFFS FOR THE COURT TO SOLICIT THE POSITION OF
                                                                         THE UNITED STATES DEPARTMENT OF STATE
                         TO
                  Case 2:18-cv-02421-JFW-E Document 169 Filed 07/23/18 Page 3 of 3 Page ID #:2955




                     1 conference of counsel pursuant to Local Rule 7-3, which took place on July 11, 2018.
                     2 See Joint Pre-Filing Statement, ECF No. 151, filed on July 16, 2018.
                     3
                     4                                       Respectfully submitted,
                     5
                         Dated: July 23, 2018                BOIES SCHILLER FLEXNER LLP
                     6                                       By:    /s/ Lee S. Wolosky
                     7
                                                                    LEE S. WOLOSKY
L L P




                     8                                              Counsel for Plaintiffs
F L E X N E R




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S C H I L L E R




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                                                                   -2-                     Case No. 18-cv-02421-JFW
                              NOTICE OF MOTION AND MOTION OF PLAINTIFFS FOR THE COURT TO SOLICIT THE POSITION OF
                                                                         THE UNITED STATES DEPARTMENT OF STATE
                         TO
